369 U.S. 659
    82 S.Ct. 1035
    8 L.Ed.2d 273
    Adolph HOHENSEEv.NEW SYNDICATE, INC., etc.
    No. 214.
    Supreme Court of the United States
    May 14, 1962
    Rehearing Denied June 11, 1962.
    
      See 370 U.S. 920, 82 S.Ct. 1552.
      James C. Newton, for petitioner.
      Stuart N. Updike, for respondent.
      On Petition for Writ of Certiorari to the United States Court of Appeals for the Third Circuit.
      PER CURIAM.
    
    
      1
      The petition for writ of certiorari is granted. The judgment is vacated and the case is remanded for consideration in light of Goldlawr, Inc., v. Heiman, 369 U.S. 463, 82 S.Ct. 913, 8 L.Ed.2d 39.
    
    
      2
      Mr. Justice HARLAN and Mr. Justice STEWART, for the reasons given in their dissent in the Goldlawr case, would deny certiorari.
    
    
      3
      Mr. Justice FRANKFURTER took no part in the consideration or decision of this case.
    
    